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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             |
COMPETITIVE ENTERPRISE INSTITUTE,            |
                                             |
                       PLAINTIFF,            |
               V.                            |       CIVIL ACTION NO.: 18-276 (ABJ)
                                             |
U.S. DEPARTMENT OF STATE,                    |
                                             |
                       DEFENDANT.            |
                                             |

                             DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s April 30, 2018, Minute Order, Defendant U.S. Department of State,

through undersigned counsel, submits this status report.

                                          BACKGROUND
       1.      In the last status report, Defendant reported that it was in the process of searching

for records responsive to the three FOIA requests it received from Plaintiff and did not yet know

the total volume of records that would be retrieved by the searches.

       2.      Plaintiff has alleged that it submitted a fourth related FOIA request to the

Department, See Compl., ¶¶ 9-18 (ECF No. 1), and Plaintiff provided to the Department a copy of

the additional request it believed it had submitted. After a diligent search, the Department has

confirmed that it did not receive this additional FOIA request and that administrative remedies

have not been exhausted with respect to that request. However, at the request of Plaintiff, this

request has been forwarded to the appropriate intake personnel to begin standard processing

immediately.

                    STATUS OF PROCESSING THE FOIA REQUESTS IN THIS CASE
       3.      The Department has completed searches for request F-2018-00078, but is still in

the process of completing the searches necessary to fulfill requests F-2017-17707 and
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F-2017-17809. As of June 6, 2018, the Department had retrieved approximately 1200 pages of

potentially responsive records.

       4.      On June 8, 2018, the Department made its first production of responsive records,

releasing 21 documents in full and 7 documents in part.

                                      PROPOSED SCHEDULE
       5.      The Department proposes that it continue to make rolling productions of responsive

records on the 8th day of each month, except that when the 8th falls on a weekend of federal

holiday, it will produce records on the next business day. Based on the present quantity of records,

the Department estimates that three additional rolling productions will be required to complete

production. However, if additional potentially responsive records are identified, it may need to

adjust this estimate.

       6.      The Department also proposes that the parties submit a joint status report to the

Court on or before September 14, 2018, with a proposed schedule for either further production or

subsequent proceedings, as needed.

Dated: June 11, 2018                   Respectfully submitted,

                                       JESSIE K. LIU, D.C. BAR NO. 472845
                                       United States Attorney

                                       DANIEL F. VANHORN, D.C. Bar No. 924092
                                       Chief, Civil Division

                                   By: /s/ April Denise Seabrook
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